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Case:18-05288-EAG11 Doc#:177 Filed:04/16/19 Entered:04/16/19 13:40:27   Desc: Main
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Case:18-05288-EAG11 Doc#:177 Filed:04/16/19 Entered:04/16/19 13:40:27   Desc: Main
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Case:18-05288-EAG11 Doc#:177 Filed:04/16/19 Entered:04/16/19 13:40:27   Desc: Main
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Case:18-05288-EAG11 Doc#:177 Filed:04/16/19 Entered:04/16/19 13:40:27   Desc: Main
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Case:18-05288-EAG11 Doc#:177 Filed:04/16/19 Entered:04/16/19 13:40:27   Desc: Main
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Case:18-05288-EAG11 Doc#:177 Filed:04/16/19 Entered:04/16/19 13:40:27   Desc: Main
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Case:18-05288-EAG11 Doc#:177 Filed:04/16/19 Entered:04/16/19 13:40:27   Desc: Main
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